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CURRICULUM VITAE
FRANCIS E. MCGOVERN

CONTACT INFORMATION

Duke University School of Law

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EDUCATION

B.A., 1967, Yale University
J.D., 1973, University of Virginia

MILITARY

U.S. Marine Corps, Captain, 1968-1971

EMPLOYMENT

Professor of Law, Duke University School of Law, 1997-present

Visiting Professor of Law (Spring), University of California at Berkeley School of Law,
2000-present

Senior Fellow, Stanford Center on Conflict and Negotiation, Stanford Law School,
2000-present

Visiting Scholar, Harvard Law School, 2005

Visiting Professor of Law, Stanford Law School, 1999-2000

Francis H. Hare Professor of Torts, 1987-1996, Professor of Law, 1985-1987, The University
of Alabama School of Law

Visiting Professor of Law, University of Fribourg (Switzerland), 1990-1991

Visiting Professor, Duke University School of Law, 1989

Senior Associate and Research Fellow, Project on Negotiation, Harvard Law
School, 1985-1987
Case 2:10-md-02179-CJB-DPC Document 492-2 Filed 10/07/10 Page 2 of 11

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Visiting Professor, Massachusetts Institute of Technology, 1984-1985

Visiting Professor of Law, Boston University Schoo! of Law, 1983-1985

Professor of Public Health Law, University of Alabama-Birmingham, 1979-1990

Professor of Law, 1980-1984, Associate Dean, 1980-1982, Assistant Dean, 1978-1979,
Associate Professor of Law, 1977-1980, Cumberland School of Law, Birmingham,
Alabama

Attorney, Vinson & Elkins, Houston, Texas, 1973-1977

BAR ASSOCIATIONS

Texas; Alabama; District of Columbia; Virginia

AWARDS AND HONORS

* Outstanding Achievement Award, CPR Legal Program Awards for Excellence and
Innovation in Alternative Dispute Resolution, 1986

* First Prize — Articles, CPR Legal Program Awards for Excellence and Innovation in
Alternative Dispute Resolution, 1986

° Lifetime Achievement Award, American College of Civil Trial Mediators, 2002

* Distinguished Lecturer, University of Tennessee Law School, 2002

* Schwartz Lecturer, Ohio State University, Moritz College of Law, 2003

* Tarheel Award, Raleigh News and Observer, 2004

¢ Honorary Degree, Doctor of Laws, 2005, Averett University

* Named Honoree, Francis E. McGovern Scholarship Award, Academy of Court
Appointed Masters, 2009

ADVISORY AND OTHER POSITIONS AND MEMBERSHIPS

Academy of Court-Appointed Masters
President
Member, Board of Directors
American Arbitration Association
Member, Executive Committee
Member, Board of Directors
Advisor, Mass Torts Project
American Bar Association
Member, Mass Torts Commission
Member, Council, Torts and Insurance Practice Section
Chairman, Committee on Professional Issues, Torts and Insurance Practice Section
Member, Task Forces on Initiatives and Referenda and Litigation Expense, Torts
and Insurance Practice Section
Reporter, Special Committee on Punitive Damages, Litigation Section
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Advisor, Catastrophe Committee, Litigation Section
American Law Institute

Member

Advisor, Complex Litigation Project
Averett University

Vice Chairman, Board of Trustees

Chairman, Academic Affairs Committee
Brookings Institute

Member, Working Group on Civil Justice Reform
Carnegie Commission

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Member, Task Force on Science and Technology in Judicial and Regulatory

Decision Making
Celotex Asbestos Settlement Trust
Trustee
Center for Public Resources
Academic Sustaining Member and Consultant
Member, Judicial Panel
Conference of Chief Justices
Advisor, Mass Tort Litigation Committee
Consensus Building Institute
Board Member
Federal Judicial Center
Consultant, Asbestos Litigation Seminars
Fibreboard Asbestos Compensation Trust
Trustee
Judicial Conference of the United States
Advisor, Working Group on Mass Torts
Judicial Panel on Multi-District Litigation
Reporter, JPMDL Study Project
Manual for Complex Litigation 2d
Technical Advisor, Board of Editors
National Mock Trial Championship Team
Advisor
National Center for State Courts
Senior Advisor
U.S. Judicial Conference
Reporter, Court Administration and Case Management Committee
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SPECIAL MASTER, COURT EXPERT, MEDIATOR, or NEUTRAL

A.H. Robins Bankruptcy, Richmond, Virginia

Abate v. ACands, Inc., Baltimore, Maryland

Abrams v. GAF, Pascagoula, Mississippi

Agabekov v. Lucifer Lighting Co., New York, New York and Geneva, Switzerland

Ahearn v. Fibreboard, Tyler, Texas

A.L.U. Textile v. Texaco Chemical, Passaic, New Jersey

Amatex Bankruptcy, Philadelphia, Pennsylvania

ASG, Washington, D.C.

Blue Cross/Blue Shield of Mississippi, Inc. v. Louisiana Health Service and Indemnity
Company, Baton Rouge, Louisiana

Celotex Bankruptcy, Tampa, Florida

Cichon et al. v. Viasys Holdings, Chicago, Illinois

City of Antonio v. Hotels.com et al.

Clean Water Act Regulatory Negotiation, Boise, Idaho

Combustion Engineering Bankruptcy, Wilmington, Delaware

Dow Chemical v. Firemen's Fund, Bay City, Michigan

Dow Corning Bankruptcy, Bay City, Michigan

Dresser Bankruptcy, Pittsburgh, Pennsylvania

Federal-Mogu! Bankruptcy, Wilmington, Delaware

Georgia Hensley, et al. v. Computer Sciences Corporation et al., Texarkana, Arkansas

Gibbs v. Lobit, Houston, Texas

Global Research Analyst Settlement Distribution Fund, New York, New York

Gray, et al. v. Derderian, et al., Providence, Rhode Island

Idaho/Nez Perce/EPA Clean Water Act Regulatory Negotiation, Boise, Idaho

In re: Bluegrass Crop Residue Dispute Process, Coeur d'Alene, Idaho

In re: ConAgra Peanut Butter Litigation, Atlanta, Georgia

In re: Currency Conversion Fee Antitrust Litigation, New York

In re: Gray's Lake, Boise, Idaho

In re: N. Ray, Hipps Road, Jacksonville, Florida

In re: Ohio Asbestos Litigation, Cleveland, Ohio

In re: Passaic Fire Litigation, Newark, New Jersey

In re: Pharmaceutical Industry Average Wholesale Price Litigation, Boston,

Massachusetts

in re: Phenyloropanolamine (PPA) Products Liability Litigation, Seattle, Washington

In re: Silicone Gel Breast Implants, Birmingham, Alabama

In re: WTC Properties, New York, New York

In the Matter of Bank of America Securities LLC, Washington, DC

In the Matter of Bear, Stearns & Co. Inc. and Bear, Stearns Securities Corp.,

Washington, DC
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In the Matter of Citibank Global Markets, New York

Jenkins v. Raymark, Marshall, Texas

Kauai Ka Lock Dam, Kauai, Hawaii

Kinder Morgan, Inc v. Associated Electric & Gas Insurance Services Limited
Linscomb vy. Pittsburgh-Corning, Beaumont, Texas

Manville Bankruptcy, New York, New York

MCC Bankruptcy, Wilmington, Delaware

National Gypsum Bankruptcy, Dallas, Texas

Newman Vv. Stringfellow, Riverside, California

Nez Perce Tribe & Idaho Power Co., Boise, Idaho

Owens Corning Bankruptcy, Wilmington, Delaware

Patrick v. Allen, New York, New York

Plaintiffs v. Allstate Insurance Company, New Orleans, Louisiana

Plaintiffs v. State Farm Fire and Casualty Company, New Orleans, Louisiana
PSI of Indiana v. Exxon, Indianapolis, Indiana

Scott v. Cardinal et al., Winston-Salem, North Carolina

Securities and Exchange Commission v Health South Corporation, Birmingham,
Alabama

Smith v. Hughes Aircraft, Tucson, Arizona

Snake River Basin Adjudication, Twin Falls, Idano

Tilousi v. Arizona Board of Regents, Phoenix, Arizona

UNR Bankruptcy, Chicago, Illinois

Underwriters at Lloyd's v. McDermott, New Orleans, Louisiana

United Nations Compensation Commission, Geneva, Switzerland

United States of America ex rel. Harold (Gene) Wright v. Agip Petroleum, et al.,
Texarkana, Texas

United States v. Michigan, Kalamazoo, Michigan

United States v. Thomas Solvent Company, Battle Creek, Michigan

Upjohn v. Aetna, Kalamazoo, Michigan

Valenzuela v. Hughes Aircraft Company, Tucson, Arizona

W.R. Grace Bankruptcy, Wilmington, Delaware

Wilhoite v. Olin Corporation, Birmingham, Alabama

Woodman v. United States, Jacksonville, Florida

Young Vv. Pierce, Tyler, Texas

BOOKS

The Preparation of a Product Liability Case, with Scott Baldwin and Francis Hare, Jr.,
Little, Brown and Company (1981 and 2d ed. 1993)

Successful Litigation Techniques: Student Edition, with Joseph Kelner, Matthew
Bender and Company (1981)

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ARTICLES

“Punitive Damages and Class Actions,” 70 Louisiana Law Review 435 (2010)

“Distribution of Funds in Class Actions - Claims Administration,” 35 Journal of

Corporation Law 123 (2009)

“Dispute Systems Design: The United Nations Compensation Commission,”
14 Harvard Negotiation Law Review 171 (2009)

“Les Limites de la reparation du prejudice,” Dalloz, 2009, contributor

“Second-Generation Dispute system Design Issues in Managing Settlements,”
24 Ohio State Journal on Dispute Resolution 53 (2008)

“A Model State Mass Tort Settlement Statute,” 80 Tulane Law Review 1809 (2006)

“The Evolution of Asbestos Bankruptcy Trust Distribution Plans,” 62 New York University
Annual Survey of American Law 163 (2006)

“A Proposed Settlement Rule for Mass Torts,” 74 UMKC Law Review 623 (2006)

“A Model Mass Tort: The PPA Experience,” 54 Drake Law Review 621 (2006)

“Mediation of the Snake River Basin Adjudication,” 42 Idaho Law Review 547 (2006)

“Challenges Faced by Courts in Chapter 11 Filings by Companies with Asbestos
Liabilities,” 24 Delaware Lawyer 18 (2006)

“Evaluation et Egalisation des Dommages pour Blessures Pesonnelles aux Etat-Unis,”
(Cour de Cessataions L' edition in-situ du Cycle sur DVD-ROM, 2006

“Strategic Mediation in Transboundary Water Large Lawsuits," Conference
Proceedings Publication, “Transboundary Waters: Crossing Cultural Boundaries,”
The Utton Center, Univ. of New Mexico Law School, Albuquerque, NM, 2005

“Procedural Difficulties and Innovations in Asbestos Litigations,” International
Comparison of Asbestos Litigation, Univ. of Kyoto (Japan) Graduate School of
Law, 2005

“Common Themes and Unintended Consequences in Class Action Reform,” 83
Washington University Law Quarterly 1107 (2005)

“The What and Why of Claims Resolution Facilities,” 57 Stanford Law Review 1361
(2005)

“Compensation Schemes and Dispute Resolution Mechanisms: Beyond the Obvious,”
21 Negotiation Journal 231 (2005)

“The Future of Judicial Masters,” 31 William Mitchell Law Review 1252 (2005)

" Judicial Ethics Meet Political Reality,” The Bencher (American Inns of Court), Nov-
Dec 2004

“Asbestos Legislation Il: Section 524(g) Without Bankruptcy,” 31 Pepperdine Law
Review, 233-260 (2004)

“Asbestos Legislation |: A Defined Contribution Plan,” 71 Tennessee Law Review 155
(2003)

“Deceptive Trade Practices Litigation: Context and Procedural Standards,”
Case 2:10-md-02179-CJB-DPC Document 492-2 Filed 10/07/10 Page 7 of 11

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Manhattan Institute Conference Series (October 2003}
“Mass Torts: Lessons in Competing Strategies and Unintended Consequences,” 2 Civil

Action (2003)
“Litigation as an Alternative to Legislation in Achieving Public Health Reform,” XxIll La

Revue Tocqueville (2002)
“Multiparty Disputes: Managing Variables Key to Successful Arbitration,” 9 Dispute
Resolution Magazine 3-4 (Fall 2002)
"The Tragedy of the Asbestos Commons," 88 Virginia Law Review 1721 (2002)
"Settlement of Mass Torts In a Federal System," 16 Wake Forest Law Review 102 (2002)
“Foreword: Complex Litigation at the Millennium," Special Editor, 64 Law &
Contemporary Problems 1 (Spring/Summer 2001)
"Toward a Cooperative Strategy for Federal and State Judges in Mass Tort Litigation,”

148 Pennsylvania Law Review 1867 (2000)
"Class Actions and Social Issue Torts in the Gulf South," 74 Tulane Law Review 1655

(2000)
"Strategic Mediation," Disp. Resol. Mag., Summer 1999, at 4
“Beyond Efficiency: A Bevy of ADR justifications," Dispute Resolution Magazine,

Summer 1997, 12.
"The Defensive Use of Federal Class Actions in Mass Torts", 39 Arizona Law Review 595

(1997)
"Rethinking Cooperation among Judges in Mass Tort Litigation,” 44 UCLA Law Review

1851 (1997)

Book Review, 95 Michigan Law Review 2077 (1997) [reviewing Jack B. Weinstein,
Individual Justice in Mass Tort Litigation (1996) and Michael D. Green, Bendectfin
and Birth Defects: The Challenges of Mass Toxic Substances Litigation (1996)]

"Implementing a Taint Test to Address the Problems Raised by Compelled Disclosure,"
59 Law & Contemporary Problems 185 (1996)

"An Analysis of Mass Torts for Judges," 73 Texas Law Review 1821 (1995)

"Looking to the Future of Mass Torts: A Comment on Siliciano and Schuck," 80 Cornell
Law Review 1022 (1995)

"The Intellectual Heritage of Claims Processing at the United Nations Compensation
Commission," in The United Nations Compensation Commission: Thirteenth Sokol
Colloquium (Richard B. Lillich ed., 1995)

"Introduction: Models for Managing Mass Tort and Insurance Coverage Litigation,” in
Managing Complex Litigation: Procedures and Strategies for Lawyers and Courts,

American Bar Association {1992}

"Lessons from U.S. Alternative Dispute Resolution," La médiation: un mode alternatif de
résolution des conflits?, Schulthess Polygraphischer Verlag, ZUrich (1992)

"Models for Managing Mass Tort and Insurance Coverage Litigation,” in Managing
Modern Litigation: Learning to Live With New Judicial Controls and New Trial Tools,
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American Bar Association (1991)

"The Cycle of Mass Tort Litigation,” Yale Law Schoo! Program in Civil Liability (1990)

‘The Alabama DDT Settlement Fund," 53 Law & Contemporary Problems 61 (1990)

"Foreword: Claims Resolution Facilities and the Mass Settlement of Mass Torts,” 53 Law
& Contemporary Problems 1 (1990)

"An Overview of Specialized Applications of ADR" in Handbook of Alternative Dispute
Resolution, State Bar of Texas (1990)

"Resolving Mature Mass Tort Litigation," 69 Boston University Law Review 659 (1989)

"The Discovery Survey," with E. Allan Lind, 51 Law & Contemporary Problems 51 (1988)

"Moving the Pig Through the Python - Multiple Approaches to Resolving Case
Management Problems in Toxic Tort Litigation," in SMU Products Liability Institute,
Matthew Bender and Company (1988)

"Use of Masters and Magistrates in Complex Litigation," in ADR and the Courts: A
Manual for Judges and Lawyers, Butterworth (1987)

"Court Appointed Experts: An Overview," in ADR and the Courts: A Manual for Judges
and Lawyers, Butterworth (1987)

"Toward a Functional Approach for Managing Complex Litigation," 53 Chicago Law
Review 440 (1986)

"Managing Complex Litigation - Old and New Devices and Techniques,” in SMU
Products Liability Institute: Evidence and Tactics in the Product Liability Case,
Matthew Bender and Company (1984)

Book Review, 4 Environmental Impact Assessment Review 597 (1983) [reviewing
James K. Sebenius, Negotiating the Law of the Sea: Lessons in the Arf and
Science of Reaching Agreement (1984)]

"The Organization of Multiple Party Litigation: Class Actions and Multidistrict Litigation,”
in SMU Products Liability Institute, Matthew Bender and Company (1983)

"Management of Multiparty Toxic Tort Litigation: Case Law and Trends Affecting Case
Management," 19 Forum 1 (1983)

"Toxic Substances Litigation in the Fourth Circuit," 16 Richmond Law Review 247
(1982)

‘The Alabama Extended Manufacturer's Liability Doctrine," Alabama Pattern Jury
Instructions - Civil, Lawyers Co-operative Publishing Company (1982)

"The Variety, Policy and Constitutionality of Product Liability Statutes of Repose," 30
American University Law Review 579 (1981)

"The Status of Statutes of Limitations and Statutes of Repose in Product Liability
Actions: Present and Future," 16 Forum 416 (1981)
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SELECTED SPEECHES

A.A. White Foundation Alternative Dispute Resolution Program

Academy of Court-Appointed Masters Programs

Aetna Alternative Dispute Resolution Program

Alabama Bar Institute for Continuing Legal Education Programs

Alabama Judicial College Programs

American Arbitration Association Programs

American Association of Law Schools Annual Meetings and Torts Workshop

American Bankruptcy Institute Programs

American Bar Association Annual Meetings, Mid-Winter Meeting and Special
Programs

American College of Civil Trial Mediators Annual Meeting

American College of Trial Lawyers Annual Meeting

American Enterprise Institute Programs

American Law Institute - American Bar Association Programs

American Society of International Law Regional Meeting

American Society of Plastic and Reconstructive Surgeons Annual Meeting

Andrews Publications Seminars

Anglo-American Exchange Program

Association of Analytic Chemists Annual Meeting

Association of the Bar of the City of New York Programs

Association of Trial Lawyers of America Annual Meetings and National Colleges

Bank Depository User Group Annual Seminar

Bernstein, Litowitz Forum

Boston University Law School Programs

Canadian — American Exchange Program

Center for Public Resources Conferences and Annual Meetings

Columbia University Seminar on Toxic Substances Litigation

Conference of State Supreme Court Chief Justices Annual Meetings

Consensus Building Institute Programs

Conservation Foundation Annual Meeting

Cornell Law School Seminar

Cour de Cassation Seminars

Dallas Bar Association Program

Delaware Judges Association Annual Meetings

Duke Judging Science Programs

Federal Judicial Center National Programs, Seminars, and Special Programs

Federalist Society Programs

The Ford Foundation National Conference for Judges and Masters Involved in
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Western General Stream Adjudications
Fordham Law Review National Symposium on Civil Justice Issues
Fox Leadership Program, University of Pennsylvania
Georgetown University Medical and Law Centers Program for Science and Law
General Motors Corporation Legal Seminars
Harris-Martin Asbestos Conference
Harvard Law School, Program on Negotiation Programs
IACC/CAIL/ALI-ABA India Conference
Inner Circle of Advocates
Institute des Hautes Etudes Sur La Justice Judicial Seminars and Programs
Institute for Law & Economic Policy Programs
Institute Suisse de Droit Comparé Mediation Seminar
International Conference on lraq-Kuwait War
Law and Society Annual Meetings
Louisiana State Bar Association Annual Meeting and Programs
Louisiana State University Law Review Symposia
Manhattan Institute Conference Series
Massachusetts Institute of Technology Ocean Conflict Resolution Conference
McCammon Group Program
Mealey’s Asbestos Conferences
Montenegro Law Program
National Academy of Sciences Programs
National Association of Women Judges Annual Meeting
National Conference of Local Defense Associations Annua! Meeting
National Conference on Dispute Resolution and the State Courts
National Conference on the Future of the Courts
National Conference on Mass Torts
National Institute for Disoute Resolution Board Meeting
National Judicial College Programs
New York Law School Seminar
New York University Conference on Class Actions and Seminars
North Carolina Bar Association Dispute Resolution Program
Northwestern School of Law Dispute Resolution Institute
Ohio State Law Schoo! Programs
Oxford University Seminar on Globalization of Class Actions
Pennsylvania Judges Association Annual Meeting
Pepperdine Law School Programs
Practicing Law Institute Programs
Product Liability Aavisory Council Program
The Rand Institute for Civil Justice Seminars
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Securities and Exchange Commission Programs

SOKOL Colloquium on Private International Law

Sonoma State University Lecture

Southeastern Corporate Law Institute Annual Programs

Southern Methodist University Personal Injury and Products Liability Symposia

Southwestern Law School Program

Stanford Law School Programs and Seminars

Tulane Law School Programs

UCLA Law Review Symposium on Alternative Dispute Resolution

United States District Court, Eastern District of Texas, Judicial Education Conference

United States Judicial Conference Advisory Committee on Rules Programs

United States Judicial Conference Federal Jurisdiction Committee Programs

United States Judicial Conference Standing Committee on Rules Programs

United States Securities Exchange Commission Programs

United States Third, Fifth, and Eighth Circuit Courts of Appeals Judicial Conferences

United States Third, Fourth, Fifth, Sixth, Seventh, Eighth, Ninth, Tenth and Eleventh
Circuit Court of Appeals Judicial Workshops

University of Alabama Law Review Symposium on the Civil Justice Reform Act of 1990

University of Arizona Communication School Conference on Trial Advocacy

University of Arizona Law School Symposium on Class Actions

University of California—Davis, School of Law Seminar

University of California—San Francisco, School of Law Seminars

University of Chicago Legal Forum Program on Juries

University of Colorado School of Law Seminar

University of Houston Law Center Seminars

University of Idaho School of Law Seminars

University of Kyoto, Symposium on Asbestos Litigation

University of Maryland School of Law Mass Tort Seminar

University of Mississippi College of Law Seminar

University of Missouri—Kansas City Seminar

University of Oregon Law School Programs

University of Pennsylvania Law School Programs

University of San Francisco School of Law Seminars

University of Southern California School of Law Seminar

University of Texas at Austin School of Law Seminars

University of Virginia School of Law Seminars

Villanova Law School Mass Tort Symposium

Yale Law Schoo! Conferences and Seminars
